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                            EXHIBIT 1
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         Certificate of Electronic Notification


   Recipients
           Emily Tong - Notification transmitted on 11-12-2021 01:51:26 PM.
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A filing has been submitted to the court RE: 2021CP0701546

Official File Stamp:                               11-12-2021 01:51:11 PM
Court:                                             CIRCUIT COURT
                                                   Common Pleas
                                                   Beaufort
Case Caption:                                      Johnnie Millen VS Amikids Beaufort Inc
Document(s) Submitted:                             Service/Affidavit Of Service
                                                     - Exhibit/Filing of Exhibits
                                                     - Exhibit/Filing of Exhibits
Filed by or on behalf of:                          Emily Hanewicz Tong

This notice was automatically generated by the Court's auto-notification system.


The following people were served electronically:
                                                   Emily Hanewicz Tong for Johnnie Millen

The following people have not been served electronically by the Court. Therefore, they must
be served by traditional means:
                                                   Amikids Beaufort Inc
